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Attorneys for Plaintiffs
SEOUL SEMICONDUCTOR CO., LTD.,
and SEOUL VIOSYS CO., LTD.


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW JERSEY


  SEOUL SEMICONDUCTOR CO., LTD., a
  Korean corporation, and                                COMPLAINT FOR
  SEOUL VIOSYS CO., LTD., a Korean                       PATENT INFRINGEMENT
  corporation,
                                                         Civil Action No. ____________
                 Plaintiffs,
                                                         JURY TRIAL DEMANDED
          v.

  ONYX ENTERPRISES INT’L CORP.
  d/b/a/ CARiD.COM

                 Defendant.




       Plaintiffs Seoul Semiconductor Co., Ltd. (“Seoul Semiconductor”) and Seoul Viosys Co.,

Ltd. (“Seoul Viosys”), (collectively “Plaintiffs”) for their Complaint against Defendant Onyx

Enterprises Int’l Corp. d/b/a CARiD.COM (“CARiD”) allege as follows:




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                                        INTRODUCTION

       1.          Plaintiffs bring this patent infringement action to protect their valuable patented

technology relating to light-emitting diode (LEDs) and LED lighting. An LED is a semiconductor

device that converts electrical energy into light. LEDs have many advantages over conventional

light sources, including lower energy consumption, longer lifetime, and smaller size.

       2.          Seoul Semiconductor was founded in 1992 with around 30 employees in a small

space of a commercial building in Bongchen-dong, Seoul. From those 30 employees, Seoul

Semiconductor grew into one of the largest manufacturers of LEDs in the world. Seoul Viosys is

also a leading company in the LED industry and an affiliate company of Seoul Semiconductor.

       3.          Seoul Semiconductor’s success is in large part due to its significant investment

in innovation and respect for intellectual property. Seoul Semiconductor has invested in research

and development (“R&D”) for the last two decades. Seoul Semiconductor invests over 10% of

sales revenue into R&D and owns one of the largest LED patent portfolios in the world, which

includes more than 10,000 patents worldwide.

                                         THE PARTIES

       4.          Plaintiff Seoul Semiconductor is a company organized and existing under the

laws of the Republic of Korea, with its principal place of business at 1B-25, 727, Wonsi-dong,

Danwon-gu, Ansan-city, Gyeonggi-do, Korea 425-851.

       5.          Plaintiff Seoul Viosys is a company organized and existing under the laws of

the Republic of Korea, with its principal place of business at 65-16, Sandan-ro 163 beon-gil,

Danwon-gu, Ansan-city, Gyeonggi-do, Korea 425-851.

       6.          Upon information and belief, defendant Onyx Enterprises International

Corporation is a company organized and existing under the laws of the State of New Jersey with

its principal place of business located at 1 Corporate Drive, Cranbury, New Jersey 08512.



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       7.         Upon information and belief, defendant Onyx Enterprises International

Corporation does business as CARiD.

       8.         Upon information and belief, CARiD has a principal place of business located

at 1 Corporate Drive, Cranbury, New Jersey 08512.

       9.         Upon information and belief, CARiD is in the business of offering for sale,

selling and distributing automotive parts incorporating light-emitting diode (LED), including by

online sales under the name CARiD.COM via the website www.carid.com.

       10.        CARiD sells LUMEN 9006HLC-G10, which is a fog light. Images of the

LUMEN 9006HLC-G10 are provided below.




       11.        CARiD sells LUMEN XX-XXXXXXX, which is a daytime running light. Images

of the LUMEN XX-XXXXXXX are provided below.




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                                  JURISDICTION AND VENUE

       12.          This is an action for patent infringement, under the Patent Laws of the United

States of America, 35 U.S.C. §271 et seq. This Court has subject matter jurisdiction under 28 U.S.C.

§§ 1331 and 1338(a).

       13.          This Court has personal jurisdiction over CARiD as a resident of this District,

due to CARiD’s principal place of business being located in this judicial district. In addition,

CARiD markets, distributes and/or sells infringing products throughout the United States,

including to customers within this judicial district.

       14.          Venue is proper within this judicial district under 28 U.S.C. § 1400 because

CARiD resides in this judicial district and/or CARiD has committed acts of infringement in this

judicial district and has a regular and established place of business within this judicial district.

                                     THE PATENTS IN SUIT

       15.          On October 8, 2019, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 10,439,105 (“the ’105 Patent”), entitled “LIGHT EMITTING

DIODE AND LIGHT EMITTING DIODE PACKAGE” to Chae et al. Seoul Viosys is the owner




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by assignment of the ’105 Patent. A true and correct copy of the ’105 Patent is attached hereto as

Exhibit 1.

       16.         On June 16, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,070,851 (“the ’851 Patent”), entitled “WAFER-LEVEL LIGHT

EMITTING DIODE PACKAGE AND METHOD OF FABRICATING THE SAME” to Seo et al.

Seoul Semiconductor is the owner by assignment of the ’851 Patent. A true and correct copy of

the ’851 Patent is attached hereto as Exhibit 2.

       17.         On December 13, 2016, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,520,543 (“the ’543 Patent”), entitled “LIGHT-EMITTING

DIODE MODULE HAVING LIGHT-EMITTING DIODE JOINED THROUGH SOLDER

PASTE AND LIGHT-EMITTING DIODE” to Chae et al. Seoul Viosys is the owner by

assignment of the ’543 Patent. A true and correct copy of the ’543 Patent is attached hereto as

Exhibit 3.

       18.         On February 13, 2018, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,893,240 (“the ’240 Patent”), entitled “LIGHT EMITTING DIODE

AND LED MODULE HAVING THE SAME” to Chae et al. Seoul Viosys is the owner by

assignment of the ’240 Patent. A true and correct copy of the ’240 Patent is attached hereto as

Exhibit 4.

       19.         On November 28, 2017, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,831,401 (“the ’401 Patent”), entitled “LIGHT EMITTING

DIODE MODULE FOR SURFACE MOUNT TECHNOLOGY AND METHOD OF

MANUFACTURING THE SAME” to Chae et al. Seoul Viosys is the owner by assignment of the

’401 Patent. A true and correct copy of the ’401 Patent is attached hereto as Exhibit 5.




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       20.         On January 2, 2018, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,859,469 (“the ’469 Patent”), entitled “LIGHT EMITTING DIODE

FOR SURFACE MOUNT TECHNOLOGY, METHOD OF MANUFACTURING THE SAME,

AND METHOD OF MANUFACTURING LIGHT EMITTING DIODE MODULE” to Chae et

al. Seoul Viosys is the owner by assignment of the ’469 Patent. A true and correct copy of the ’469

Patent is attached hereto as Exhibit 6.

       21.         On June 2, 2015, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,048,409 (“the ’409 Patent”), entitled “WAFER-LEVEL LIGHT

EMITTING DIODE PACKAGE AND METHOD OF FABRICATING THE SAME” to Seo et al.

Seoul Semiconductor is the owner by assignment of the ’409 Patent. A true and correct copy of

the ’409 Patent is attached hereto as Exhibit 7.

       22.         On May 12, 2015, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,029,892 (“the ’892 Patent”), entitled “DEVICE MODULE” to

Sugizaki et al. Seoul Semiconductors is the owner by assignment of the ’892 Patent. A true and

correct copy of the ’892 Patent is attached hereto as Exhibit 8.

       23.         On September 19, 2017, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,768,367 (“the ’367 Patent”), entitled “LIGHT EMITTING

DEVICE” to Chae et al. Seoul Viosys is the owner by assignment of the ’367 Patent. A true and

correct copy of the ’367 Patent is attached hereto as Exhibit 9.

       24.         On July 19, 2011, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,982,207 (“the ’207 Patent”), entitled “LIGHT EMITTING DIODE”

to Kim et al. Seoul Viosys is the owner by assignment of the ’207 Patent. A true and correct copy

of the ’207 Patent is attached hereto as Exhibit 10.




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          25.      On September 13, 2005, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 6,942,731 (“the ’731 Patent”), entitled “METHOD FOR

IMPROVING THE EFFICIENCY OF EPITAXIALLY PRODUCED QUANTUM DOT

SEMICONDUCTOR COMPONENTS” to Sellin et al. Seoul Semiconductor is the owner by

assignment of the ’731 Patent. A true and correct copy of the ’731 Patent is attached hereto as

Exhibit 11.

          26.      On February 23, 2016, by the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,269,868 (“the ’868 Patent”), entitled “Semiconductor Light

Emitting Element and Method for Manufacturing Semiconductor Light Emitting Element” to

Kushibe et al. Seoul Semiconductor is the owner by assignment of the ’868 Patent. A true and

correct copy of the 868 Patent is attached hereto as Exhibit 12.

                                            COUNT I
                          INFRINGEMENT OF THE ’105 PATENT
                                     EXAMPLE CLAIM 1

          27.      CARiD has infringed and continues to infringe one or more claims of the ’105

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          28.      The LUMEN 9006HLC-G10 includes a light emitting diode (“LED”) package,

which includes a light emitting diode chip. The image below (left) shows an LED package of the

LUMEN 9006HLC-G10, which comprises a plurality of LED chips. The image below (right)

shows a scanning electron microscope (“SEM”) image of the bottom of one such LED chip.




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       29.         The SEM image below (left) shows a pair of holes milled into the bottom of the

LED chip using a focused ion beam. The SEM image below (right) is a cross-sectional image

created from scanning electron microscope images of the right milled hole. There is a first

conductive type (n-type)semiconductor layer on the bottom, and on the left side there is a mesa

disposed on top of this first conductive type semiconductor layer. The mesa is comprised of an

active layer and a second conductive type (p-type) semiconductor layer. The image further shows

a reflective electrode on top of the mesa, and a current spreading layer on top of the mesa. On the

right side of the SEM image below right, part of the current spreading layer is in ohmic-contact

with the first conductive type (n-type) semiconductor layer below it.




       30.         In the image above (right), there is also a lower insulating layer on the left that

is above the mesa and reflective electrode, but below the current spreading layer. The lower

insulating layer insulates the current spreading layer from the mesa and the reflective electrode.

       31.         The SEM image below (left) shows another pair of holes milled into the bottom

of the LED chip using a focused ion beam. The SEM image below (right) shows a cross-section


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created from scanning electron microscope images of the right milled hole. The image shows a

darker-colored insulation layer on the left. The insulation layer rests on top of the reflective

electrode disposed on the mesa and ends to create an opening that exposes the reflective electrode.




       32.         The image below shows the bottom of a LUMEN 9006HLC-G10 LED chip.

The image shows the mesa discussed above disposed between a first n-contact region and a second

n-contact region. More specifically, each of the circles in the image below provide contact to the

underlying first conductive type (n-type) layer.




       33.         The SEM image below (left) shows additional holes milled into the bottom of

the LED chip near the second n-contact region using a focused ion beam. The SEM image (right)

below shows a cross-section created from scanning electron microscope images of the milled hole

on the left side of the circular n-type contact. There is an opening on the right side of the image

where the first conductive type (n-type) semiconductor layer is exposed. At the opening, the




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lighter-colored current spreading layer is in ohmic contact with the darker colored first conductive

type (n-type) semiconductor layer below it.




       34.         The SEM image below (left) once again shows the two holes milled into the

bottom of the LED chip. The SEM image below (right) below shows a cross-section created from

scanning electron microscope images of the left hole. As shown in this cross-section, there is a

dark-colored upper insulating layer on the far right that covers a portion of the current spreading

layer. The current spreading layer is disposed on an upper portion of the mesa described above.

To the left of the upper insulating layer, there is a hole in the insulating layer exposing a second

portion of the current spreading layer. The hole in the insulating layer is indicated by the uneven

solder surface in the image below left.




       35.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury




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unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

          36.      Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                            COUNT II
                          INFRINGEMENT OF THE ’851 PATENT
                                     EXAMPLE CLAIM 1

          37.      CARiD has infringed and continues to infringe one or more claims of the ’851

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          38.      The image below shows the LED package of the LUMEN 9006HLC-G10,

which comprises a plurality of LED chips.




          39.      The SEM image below (left) shows the bottom of one of the plurality of LED

chips. The image below (right) provides an enlarged optical view of the bottom of the LED chip.

As seen in the images, there are a plurality of contact holes on the LED chip.




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       40.         The SEM image below (left) is a further enlarged view of one of these contact

holes. In the image, two holes have been milled into the LED chip using a focused ion beam. The

SEM image below (right) shows a cross-section created from scanning electron microscope images

of the right milled hole. The contact hole, at the far right, is surrounded by a mesa comprised of a

second conductive type (p-type) semiconductor layer and an active layer such that the contact hole

penetrates through the second conductive type (p-type) semiconductor layer and the active layer

to expose the first conductive type (n-type) semiconductor layer below. The other contact holes

similarly penetrate through the second conductive type (p-type) semiconductor layer and active

layer to expose the first conductive type (n-type) semiconductor layer.




       41.         The SEM image below shows a cross-section through the printed circuit board

and an LED chip of the LUMEN 9006HLC-G10. The cross-section shows bumps on the bottom

of the chip where contact is made to the underlying electric leads. The bumps are respectively




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electrically connected to the first conductivity type semiconductor layer via contact holes and to

the second conductive semiconductor layer.




       42.         The image below (left) shows the package of the LUMEN 9006HLC-G10. The

optical image below (right) shows a cross-sectional view of the package. As seen in the images, a

protective insulation layer covers the external side walls surrounding the LED package such that

the protective insulation layer surrounds the semiconductor stack.




       43.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury




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unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

          44.      Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                           COUNT III
                          INFRINGEMENT OF THE ’543 PATENT
                                     EXAMPLE CLAIM 1

          45.      CARiD has infringed and continues to infringe one or more claims of the ’543

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          46.      The image below (left) shows an LED package of the LUMEN 9006HLC-G10.

As shown in the image, the package comprises a plurality of LED chips bonded to a printed circuit

board. The image below (right) shows the back surface of an LED after removal from the package.




          47.      As discussed in Count I, the LED includes a first conductivity type

semiconductor layer and a mesa disposed over the first conductivity type semiconductor layer, the

mesa comprising an active layer and a second conductivity type semiconductor layer.



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       48.          The SEM image below (left) shows an enlarged view of one of the contact holes

from the bottom surface of one of the LED chips. In the image, two holes have been milled into

the LED chip using a focused ion beam. The SEM image below (right) shows a cross-section

created from scanning electron microscope images of the milled holes. The image shows a lighter-

colored first electrode pad above and electrically connected to the darker colored-colored first

conductive-type (n-type) semiconductor layer at the right edge of the image. Also shown in the

image below right is a mesa to the left of the circular contact hole. More specifically, the mesa

comprises the raised portion that begins to the left of the contact hole and extends to the far left

side of the image. The mesa includes both an active layer and a second conductive-type (p-type)

semiconductor layer.




       49.          The image above right also shows a reflective electrode structure upon the

mesa. The reflective electrode appears as a thin brightly colored atop the mesa that begins just to

the right of center in the image and extends to the left edge of the image and is made of silver. In

addition, just above the reflective electrode is at least one anti-diffusion reinforcing layer.

       50.          The image above left also shows an irregular pattern of bumps that indicates

the location where solder was used to bond the chip to a negative pad on the printed circuit board.

       51.          The SEM image below (left) shows an enlarged view of another area on the

bottom surface of the chip. In the image, two holes have been milled into the LED chip using a




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focused ion beam. The SEM image below (right) shows a cross-section created from scanning

electron microscope images of the milled holes. The cross-section indicates that the holes were cut

into the mesa. The thin light layer on top of the mesa indicates a different portion of the reflective

electrode.




         52.        The image above left also has a rounded rectangular depression near the center

of the image. That depression, a portion of which is also depicted in the image above right,

indicates the location where an electrical connection is made between the second electrode pad

and the reflective electrode via the at least one anti-diffusion reinforcing layer.

         53.        The image above left also again shows an irregular pattern of bumps that

indicates the location where solder was used to bond the chip to a positive pad on the printed circuit

board.

         54.        CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

         55.        Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.




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                                           COUNT IV
                          INFRINGEMENT OF THE ’240 PATENT
                                     EXAMPLE CLAIM 1

          56.      CARiD has infringed and continues to infringe one or more claims of the ’240

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          57.      The image below shows an LED package of the LUMEN 9006HLC-G10. As

shown in the image, the package comprises a plurality of LED chips adhering to a printed circuit

board.




          58.      The SEM image below shows a cross-section through the printed circuit board

and LED chip of the LUMEN 9006HLC-G10.




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       59.        As discussed in Count I, the LED includes a first conductivity type (n-type)

semiconductor layer and a mesa disposed over the first conductivity type semiconductor layer, the

mesa comprising an active layer and a second conductivity type (p-type) semiconductor layer.

       60.        The SEM image below shows the bottom of an LED chip of the LUMEN

9006HLC-G10.




       61.        The SEM image below (left) shows an enlarged view of a first part of the

bottom surface of the chip. In the image, two holes have been milled into the LED chip using a

focused ion beam. The SEM image below (right) shows a cross-section created from scanning

electron microscope images of the milled holes.




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       62.         The left side of the image above (right) shows a mesa on top of the first

conductivity type (n-type) semiconductor layer. The mesa includes a second conductivity type (p-

type) semiconductor layer and an active layer. Along the top of the mesa is an ohmic-contact

structure contact with the second conductivity type (p-type) semiconductor layer.

       63.         Above the ohmic-contact structure is a lower insulating layer comprised of

silicon dioxide. As shown in the image below, the silicon dioxide lower insulating layer covers the

top of the mesa and has an opening toward the right side of the image where the first conductivity

type (n-type) semiconductor is exposed.




       64.         The SEM image below (left) shows an enlarged view of the area on the bottom

surface of the chip where a second opening part is located. In the image, two holes have been

milled into the LED chip using a focused ion beam. The SEM image below (right) shows a cross-

section created from scanning electron microscope images of right hole.




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       65.          The second opening part can be seen in the image above (right) exposing the

ohmic-contact structure, which itself is in contact with the second conductivity type (p-type)

semiconductor. The image below is of the full bottom surface of the LED. The image shows four

small rounded rectangles just to the left of center, any of which can comprise a second opening

part for providing current to the second conductivity type (p-type) semiconductor. The small

circles in the image below comprise parts of the first opening pattern for providing current to the

first conductivity type (n-type) semiconductor. As the image shows, the second opening parts are

disposed between portions of the first opening pattern at the top and bottom edges of the light

emitting diode.




       66.          Returning to the cross-section image below, a current distributing layer is

depicted as the relatively thick and lightly colored metal layer that is electrically isolated from the



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mesa and electrically connected to the first conductivity type semiconductor layer at the far right

edge of the image.




       67.           As shown in the image below, the small circles all comprise contacts to the first

conductivity type (n-type) semiconductor layer. The current distributing layer connects those

contacts together. The yellow line that crosses from the left edge toward the middle of the chip

indicates the break in the current distributing layer, and thus defines a third opening part within

which at least one second opening part is exposed.




       68.           The SEM image below (left) shows an enlarged view near the second opening

part. The two holes shown cut into the mesa of the LED chip within the third opening. The SEM




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image below (right) shows a cross-section created from scanning electron microscope images of

the milled holes.




        69.           The SEM image above (right) shows an enlarged view of a portion of the mesa.

Above the ohmic contact is at least one diffusion preventing, which exists within the third opening

discussed above and also provides an electrical connection to the ohmic contact as indicated to the

far right in the image above.

        70.           The SEM image below (left) once again shows an enlarged view of a part of

the bottom surface of the chip. In the image, two holes have been milled into the LED chip using

a focused ion beam. The SEM image below (right) once again shows a cross-section created from

scanning electron microscope images of the milled holes. As seen in the right side of the image, a

dark upper insulating layer is provided over a portion of the upper surface of the current

distributing layer.




        71.           The upper insulating layer covers the current distributing layer except where

the dark solder in shown on the right side of the image below, with the outline of the dark solder




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indicating a fourth opening providing a first electrode pad region where electrical current is

provided to the LED.




       72.         The SEM image below (left) once again shows an enlarged view of an area on

the bottom surface of the chip where the second opening part is located. Extending from the middle

of the SEM image below (right) to the right side of the image is another segment of the upper

insulating layer. Here again, the absence of the upper insulating layer on the left side of the image

indicates the region where solder is provided. The solder indicates a fifth opening part, which

provides a second electrode pad region. In the image, the upper insulating layer forms a fifth

opening part coincident with the area covered by solder. The area of the fifth opening part provides

a second electrode pad region. In addition, the diffusion preventing layer is provided within the

fifth opening exposed from the upper insulating layer.




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       73.         The image below (left) once again shows the LED package of the LUMEN

9006HLC-G10. As shown in the image, the package comprises a plurality of LED chips adhering

to a printed circuit board. The image below (right) shows the printed circuit board with the LED

chips removed. As seen in the image, there is a first pad and second pad that would be situated

between the printed circuit board and the LED chips when the LED chips are attached.




       74.         The image below (left) shows the bottom surface of an LED chip of the

LUMEN 9006HLC-G10. The image below (right) shows an enlarged view of the portion of the

bottom surface of the chip. As seen in the image, there is a soldering paste that adheres to the first

electrode pad and second electrode pad.




       75.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.



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          76.      Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                           COUNT V
                          INFRINGEMENT OF THE ’401 PATENT
                                     EXAMPLE CLAIM 1

          77.      CARiD has infringed and continues to infringe one or more claims of the ’401

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          78.      The SEM image below (left) shows the bottom surface an LED chip of the

LUMEN 9006HLC-G10. The SEM image below (right) shows an enlarged view of a portion of

the bottom surface of the LED chip. In the image, a plurality of holes have been milled into the

LED chip using a focused ion beam.




          79.      The SEM image below shows a cross-section created from scanning electron

microscope images of the milled hole on the left side of the circular contact to the first

semiconductor layer (n-type).




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       80.         The center of the image above also shows a portion of the edge of a mesa

structure, which includes, from bottom to top, a first semiconductor layer (n-type), an active layer

formed over the first semiconductor layer, and a second semiconductor layer (p-type) formed over

the active layer. The mesa structure has an edge to the right of the center of the image, which

comprises an outer side wall of the stacked structure. The image above also shows a thick light-

colored first conductive layer that is formed over the stacked structure to cover the outer side wall.

Further, a first insulating layer is situated between the stacked structure and the first conductive

layer, preventing the first conductive layer contacting the outer side wall.

       81.         As seen in the image below, there are two types of pads. Four p-type pads are

provided on the lower portion of the image and a single n-type pad is provided on the upper portion

of the image. Both types of pads are formed above the stacked structure.




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       82.         The first conductive layer is electrically connected to the n-type pad. The far

right side of the image below shows the first conductive layer in ohmic contact with the underlying

first semiconductor (n-type) layer. The location of contact between the first conductive layer and

the first semiconductor layer occurs outside of the side wall of the stacked structure shown in the

center of the image below.




       83.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

       84.         Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                           COUNT VI
                          INFRINGEMENT OF THE ’469 PATENT
                                    EXAMPLE CLAIM 14

       85.         CARiD has infringed and continues to infringe one or more claims of the ’469

Patent, including but not limited to exemplary claim 14, pursuant to 35 U.S.C. § 271(a), at least

by without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10

fog light within the United States or importing the LUMEN 9006HLC-G10 fog light into the

United States.




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       86.          The SEM image below (left) shows the bottom surface an LED chip of the

LUMEN 9006HLC-G10. The SEM image below (right) shows an enlarged view of a portion of

the bottom surface of the LED chip. In the image, two holes have been milled into the LED chip

using a focused ion beam.




       87.          The SEM image below shows a cross-section created from scanning electron

microscope images of the milled holes.




       88.          In the image above, a lighter-colored first conductive layer is shown extending

from the left side of the image to the right. On the left side of the image, the first conductive layer

is provided over a mesa structure including a first semiconductor (n-type) layer, an active layer

disposed on a portion of the first semiconductor layer, and a second semiconductor (p-type) layer

disposed on the active layer. On the far right side of the image above, the first conductive layer is

shown disposed on the first semiconductor (n-type) layer.




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       89.         The SEM images below show a different portion of the LED. Here again, the

image below left shows an SEM indicating that a pair of holes have been milled into the surface

of the LED. The SEM image below right is a cross-sectional view of the holes. The thick bright

layer in the image below right indicates a second conductive layer disposed on the top of the second

semiconductor (p-type) layer.




       90.         The images below reproduce again the SEMs of portions of the first conductive

layer (top) and second conductive layer (bottom). In both images, an SiO2 insulating layer is shown

on the left side of the image separating the first and second conductive layers from the underlying

semiconductor layers.




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       91.         Focusing more specifically on the portion of the SiO2 insulating layer under the

first conductive layer in the image below, it can be seen that insulating layer has regions of

differing thickness. Those regions include a first region on the mesa structure where the thickness

varies, and therefore has different thicknesses. Those regions also include a second region having

a substantially constant thickness. The first region includes a first portion near the center of the

image that is adjacent to the edge of mesa, which is an end of the second semiconductor layer. The

first portion has a first thickness. The first region also includes a second portion toward the left

side of the image closer to the center of the second semiconductor layer having a second thickness,

and a third portion between them with a gradually varying thickness.




       92.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.




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          93.      Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                          COUNT VII
                          INFRINGEMENT OF THE ’409 PATENT
                                     EXAMPLE CLAIM 1

          94.      CARiD has infringed and continues to infringe one or more claims of the ’409

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          95.      The SEM image below (left) shows the bottom surface an LED chip of the

LUMEN 9006HLC-G10. The SEM images below (right) shows an enlarged view of a portion of

the bottom surface of the LED chip. In the image, holes have been milled into the LED chip using

a focused ion beam.




          96.      The SEM image below shows cross-sections created from scanning electron

microscope images of the milled holes in the right image above. The left side of the image below

shows a portion of a mesa that includes an active layer and a second semiconductor (p-type) layer.

Near the right side of that image an edge of the mesa is shown.



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       97.          The image above also shows two contact layers. The first contact appears as a

thick lightly colored layer that extends across the entire image. The first contact layer is shown

disposed on the first type (n-type) semiconductor layer at the far right side of the image. The second

contact layer appears as a thin lightly colored layer that extends across a portion of the top surface

of the mesa. The second contact layer is disposed on the second type (p-type) semiconductor layer.

       98.          The image above also show a first insulation layer (SiO2) that cover the second

contact layer. At the edge of the mesa the first insulation layer extends over a sidewall of the active

layer, and the second semiconductor (p-type) layer. The first insulating layer also contacts the

bottom of the first contact layer. At the far right side of the image the first insulating layer has an

opening that exposes the first semiconductor (n-type) layer.

       99.          Two additional SEM images are reproduced below. The SEM image below left

shows a different portion of the bottom surface of the LED with a pair of milled holes. The SEM

image below right shows the inner surface of those milled holes to represent a cross section of that

portion of the LED. The image below right again shows the second contact layer extending over

the top of the mesa structure. The image also shows a portion of the first insulation that extends

over the second contact layer. As shown on the far right side of the image below, the insulating

layer has a second opening that exposes a portion of the second contact layer.




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        100.        The SEM of the cross-section near the n-type contact is again reproduced

below. On the right side of the image above the first contact layer a second (SiO2) insulation layer

is shown extending to the right edge of the image. The second insulation is disposed on a portion

of the first insulation layer.




        101.        The image below (left) shows the LED package of the LUMEN 9006HLC-G10,

which comprises a plurality of LED chips. The SEM image below (right) shows a cross-section

through the package and one of its LEDs. The SEM image shows a pair of bumps both disposed

on the same side (bottom) of the semiconductor stack. The bumps provide electrical connection to

the underlying leads of the package. The bumps also respectively connect to the first contact layer

and the second contact layer discussed above. The SEM also shows a third insulation layer that is

disposed around the LED and on the side surfaces of the bumps.




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          102.     CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

          103.     Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                          COUNT VIII
                          INFRINGEMENT OF THE ’892 PATENT
                                     EXAMPLE CLAIM 1

          104.     CARiD has infringed and continues to infringe one or more claims of the ’892

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          105.     The image below (left) shows the LED package of the LUMEN 9006HLC-G10.

As shown in the image, the package comprises a plurality of LED chips adhering to a printed




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circuit board. The image below (right) shows the bottom surface of an LED chip of the LUMEN

9006HLC-G10. In the image, there are a plurality of electrode surfaces as shown by the darker

regions some of the solder used to mount the LED remains. These electrode surfaces are arranged

in a first direction, left to right, and a second direction, bottom to top. As shown in the image below

(left), the chips are mounted on the circuit board of the package with the electrode surfaces oriented

so they come into contact with the mounting surfaces on the circuit board.




       106.         The image below (left) shows the printed circuit board with the LEDs removed.

The image below (right) shows an enlarged view of part of this circuit board where solder remains

after removal of an LED. As shown in the image below (right), there are a plurality of pads upon

which portions of the mounting solder remain.




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        107.        The figures below align the device pads with the pads on the mounting

substrate. As the figures show, the larger negative pad on the circuit board has a first width portion

and a second width portion in the second (vertical) direction. And the negative electrode surface

on the device has a third width portion in the second (vertical) direction. The second width portion

is larger than the third, and the third width portion is larger than the first.




        108.        The images also show that the distance between the pads on the mounting

substrate in the first (horizontal) direction is shorter than the distance between the electrode

surfaces on the device in the first (horizontal) direction.

        109.        The alignment between the electrode surfaces on the device (above left) and the

pads on the mounting substrate (above right) is shown in the correspondence between the outlines

of the respective structures. In addition, the black material in the image above left and the grey

material in the image above right both indicate the presence of solder, which was used as a

conductive bonding agent.

        110.        CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.



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          111.     Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                             COUNT IX
                           INFRINGEMENT OF THE ’367 PATENT
                                       EXAMPLE CLAIM 1

          112.     CARiD has infringed and continues to infringe one or more claims of the ’367

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN 9006HLC-G10 fog

light within the United States or importing the LUMEN 9006HLC-G10 fog light into the United

States.

          113.     The optical image below (left) shows the printed circuit board with the LEDs

removed. There is a mounting substrate in the center. The image below (right) shows the bottom

surface of one of the plurality of LED chips mounted to the circuit board. As seen in the image,

there is a first bonding pad, which is configured to be soldered to the mounting substrate. A solder

ball contactable regions are depicted by the dark areas on the bottom half. A first bonding pad

comprising two elongate opposed regions is disposed on one of the solder ball contactable regions.

The non-conductive regions are shown between the solder ball contactable regions. Since the

elongate opposed regions are disposed on the solder ball contactable regions, the non-conductive

regions are also disposed between the at least two elongate, opposed regions.




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       114.        The SEM image below (left) shows an enlarged view of a portion of the bottom

surface of the chip with two holes milled using FIB. The image below (center) shows a cross

sectional view created from the milled holes. The image below (right) is a zoomed in view of part

of the cross-sectional view, specifically showing the first connection electrode. In the center image,

the first electrode on the bottom is connected to the first bonding pad on top by the first connection

electrode. On the bottom, there is a first conductive type semiconductor layer connected to the first

electrode.




       115.        CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.




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       116.        Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                            COUNT X
                           INFRINGEMENT OF THE ’207 PATENT
                                      EXAMPLE CLAIM 7

       117.        CARiD has infringed and continues to infringe one or more claims of the ’207

Patent, including but not limited to exemplary claim 7, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN XX-XXXXXXX daytime

running light within the United States or importing the LUMEN XX-XXXXXXX daytime running light

into the United States.

       118.        The LUMEN XX-XXXXXXX daytime running light includes a plurality of LED

packages, each of which includes a light emitting diode chip. The image of an LED package from

an LUMEN XX-XXXXXXX daytime running light is reproduced below. The image below shows the

LED chip within package.




       119.        Below are two Scanning Electron Microscope images of the LED chip. The

image to the left shows the top image of the LED chip, and the image below right shows the area

surrounding the p-electrode of the LED chip. The dark space near the p-electrode indicates a hole

created using a focused ion beam.




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       120.        The below composite image show the cross-section of the hole created by the

focused ion beam. Focusing in on the central part of the image, the cross-section shows from

bottom to top (in relevant part) a substrate, an n-type semiconductor layer, an active layer, a p-type

semiconductor layer, a transparent electrode layer and the p-electrode pad, which includes a thin

layer of aluminum on its bottom surface. The transparent electrode layer is comprised of indium

tin oxide, which appears as a relatively thin lightly colored layer on the top surface of the p-type

semiconductor layer.




       121.        Focusing on the left side of the image above, there is shown from bottom to top

a substrate, an n-type semiconductor layer, an active layer, a p-type semiconductor layer, and the

p-electrode pad, which includes a thin layer of aluminum on its bottom surface. More specifically,

in the leftmost region the thin layer of aluminum contacts the underlying p-type semiconductor

rather than the transparent electrode layer. That area of contact indicates an opening in the




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transparent electrode layer, where the contact between the aluminum and p-type semiconductor

layer, comprises a current blocking portion.

       122.         With respect the central region of the image above, the electrode pad is arranged

on an upper surface of the transparent electrode layer outside of the opening.

       123.         CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

       124.         Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                             COUNT XI
                           INFRINGEMENT OF THE ’731 PATENT
                                       EXAMPLE CLAIM 1

       125.         Upon information and belief, CARiD has infringed and continues to infringe at

least exemplary claim 1 of the ‘731 Patent pursuant to 35 U.S.C. § 271(g) at least by without

authority importing into the United States or offering to sell, selling, and/or using within the United

States the LUMEN XX-XXXXXXX daytime running light, which upon information and belief are

made by a process that infringes that claim and are not materially changed by subsequent processes

and do not become a trivial and nonessential component of another product.

       126.         The LUMEN XX-XXXXXXX daytime running light includes a plurality of LED

packages, each of which includes a light emitting diode chip. The image of an LED package from

an LUMEN XX-XXXXXXX daytime running light is reproduced below. The image below shows the

LED chip within the package.




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       127.           Below are two Transmission Electron Microscope images of the epi structure

of the LED chip. The image to the left shows the entire epi-structure above a patterned sapphire

substrate. The image below right enlarges the region of the epi-structure around the multi-quantum

well active region.




       128.           The Transmission Electron Microscope image below further enlarges the multi-

quantum well active region, which comprises a plurality of quantum dot layers separated by a

plurality of barrier layers. The plurality of quantum dot layers appear as relatively thin and bright

layers separated by relatively thick and dark barrier layers.




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       129.        In view of the shape of the individual quantum dot layers, and upon information

and belief regarding the process used to manufacture the LED chip, the manufacturing process

included growth interruption after each layer of coherent quantum dots had been overgrown with

a layer of semiconductor material at least thick enough to completely cover all the quantum dots.

       130.        CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

       131.        Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                          COUNT XII
                          INFRINGEMENT OF THE ’868 PATENT
                                    EXAMPLE CLAIMS 1

       132.        CARiD has infringed and continues to infringe one or more claims of the ’868

Patent, including but not limited to exemplary claim 1, pursuant to 35 U.S.C. § 271(a), at least by

without authority making, using, offering to sell, and/or selling the LUMEN XX-XXXXXXX daytime

running light within the United States or importing the LUMEN XX-XXXXXXX daytime running light

into the United States.

       133.        The LUMEN XX-XXXXXXX daytime running light includes a semiconductor light

emitting element. A microscope image of an example light emitting element is reproduced below.




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         134.       Two Transmission Electron Microscope images of the light emitting element

are reproduced below. The image below left shows the full epi-structure above a patterned sapphire

substrate. The image below right indicates a plurality of layers including from bottom to top (in

relevant part) an n-type semiconductor layer, a light emitting unit comprised of a multi-quantum

well, and a p-type semiconductor layer. The light emitting unit includes well layers comprised of

indium gallium nitride.




         135.       The image below right focusses in on the p-type semiconductor layer. As the

image shows, a number of layers as described above located below the p-type semiconductor layer,

with the relative brightness of each layer correlating with the dopant concentration. From bottom

to top, the layers include a first layer, a second layer, and a third layer, each of which has different

levels of the Magnesium doping, the first layer with relatively low Magnesium doping, the second

layer with relatively high Magnesium doping, and the third layer with intermediate Magnesium

doping




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       136.        CARiD’s infringement has caused and is continuing to cause damage and

irreparable injury to Plaintiffs. Plaintiffs will continue to suffer damage and irreparable injury

unless and until that infringement is enjoined by this Court, as a remedy at law alone would be

inadequate.

       137.        Plaintiffs are entitled to injunctive relief and damages in accordance with 35

U.S.C. §§ 271, 281, 283, and 284.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment in their favor and against CARiD as follows:

       A.          A declaration that CARiD has infringed the ’105 Patent, ’851 Patent, ’543

Patent, ’240 Patent, ’401 Patent, ’469 Patent, ’409 Patent, ’892 Patent, ’367 Patent, ’207 Patent,

’731 Patent, and ’868 Patent under 35 U.S.C. § 271, and a final judgment incorporating the same;

       B.          A permanent injunction, enjoining CARiD and its officers, agents, servants,

employees, representatives, successors, and assigns, and all others acting in concert or

participation with them from continued infringement under 35 U.S.C. § 271 of the ’105 Patent,

’851 Patent, ’543 Patent, ’240 Patent, ’401 Patent, ’469 Patent, ’409 Patent, ’892 Patent, ’367

Patent, ’207 Patent, ’731 Patent, and ’868 Patent;

       C.          An award of damages adequate to compensate Plaintiffs for CARiD’s

infringement the ’105 Patent, ’851 Patent, ’543 Patent, ’240 Patent, ’401 Patent, ’469 Patent, ’409



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Patent, ’892 Patent, ’367 Patent, ’207 Patent, ’731 Patent, and ’868 Patent, together with

prejudgment and post-judgment interest and costs pursuant to 35 U.S.C. § 284;

          D.       An accounting of all infringing sales and other infringing acts by CARiD, and

an order compelling an accounting for infringing acts not presented at trial and an award by the

Court of additional damages for such acts; and

          E.       Any other relief to which Plaintiffs are entitled or that the Court seems just and

proper.

                                        JURY DEMAND

Plaintiffs demand trial by jury.




DATED: May 15, 2020                               HOLLAND & KNIGHT LLP


                                                   /s/ Charles A. Weiss
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                                                  MICHAEL EISENBERG (pro hac vice
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                                                  SEOUL VIOSYS CO., LTD.




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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       Pursuant to Local Civil Rule 11.2, I hereby certify under penalty of perjury that, to the

best of my knowledge, the matter in controversy is not the subject of any other action pending in

any other court or of any pending arbitration or administration proceeding.



Dated: May 15, 2020                                          /s/ Charles A. Weiss
                                                             Charles A. Weiss




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